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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                           FOR ELECTRONIC
                                                    PUBLICATION ONLY
       -against-
                                                    MEMORANDUM & ORDER
 TYQUAN MIDYETT,
                                                    07-CR-874 (KAM)
                   Defendant.

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 MATSUMOTO, United States District Judge:

             Defendant Tyquan Midyett (“defendant” or “Midyett”)

 moves for a new trial pursuant to Rule 33 of the Federal Rules

 of Criminal Procedure.      (Doc. No. 477, “Def. Rule 33 Letter

 Motion.”)    Defendant contends that (i) his right to be present

 at trial pursuant to Fed. R. Crim. P. 43 was violated on March

 2, 2009; and (ii) he was deprived of his right to “properly

 review” statements of co-conspirators.          For the reasons set

 forth below, defendant’s motion is denied.

                                 DISCUSSION

    A. Timeliness of Motion

             Rule 33(b)(2) provides in pertinent part that “[a]ny

 motion for a new trial grounded on any reason other than newly

 discovered evidence must be filed within 14 days after the

 verdict or finding of guilty.”         Fed. R. Crim. P. 33(b)(2).

 Effective December 1, 2009, Rule 33 was amended to expand the

 previous deadline for filing a motion for new trial from 7 days
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 to 14 days, and the enabling order accompanying the amendment

 provides that the amendment shall “govern in all proceedings

 thereafter commenced and, insofar as just and practicable, all

 proceedings then pending.”       United States Supreme Court Order

 dated Mar. 26, 2009; 1 see also 28 U.S.C. § 2074(a).

             Defendant was convicted by a jury on March 12, 2009,

 before the effective date of December 1, 2009.            Even assuming

 that the 14-day period applies, the instant motion, filed on May

 4, 2010, is untimely because it was filed over one year after

 the March 12, 2009 jury verdict.

             “The time limitations specified in Rule 33 are read in

 conjunction with Rule 45, which establishes how to compute and

 extend time.”     United States v. Robinson, 430 F.3d 537, 541 (2d

 Cir. 2005).    Pursuant to Rule 45, defendant may seek an

 extension of time to file a motion for a new trial provided that

 defendant does so “before the originally prescribed or

 previously extended time expires” or “after the time expires if

 the party failed to act because of excusable neglect.”              Fed. R.

 Crim. P. 45(b)(1)(A)-(B).      A “finding of excusable neglect is

 based on consideration of all relevant circumstances, including:

 1) the danger of prejudice to the non-moving party; 2) the

 length of delay and impact on judicial proceedings; 3) the


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   Available at www.supremecourt.gov/orders/courtorders/frcr09.pdf
 [last visited May 14, 2010].
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 reason for the delay, including whether it was in the reasonable

 control of the moving party; and 4) whether the moving party

 acted in good faith.”      United States v. Polouizzi, No. 06-CR-22,

 2010 WL 318265, at *31 (E.D.N.Y. Feb. 11, 2010) (citation

 omitted).


             Although defendant has failed to offer any reason for

 his delay in moving for a new trial pursuant to Rule 33, the

 court observes that the instant motion was filed after

 defendant’s Rule 29 motion for acquittal and other post-

 conviction motions on which the court has issued rulings, and

 comes 15 days before defendant was scheduled to be sentenced.

 The court further observes that the factual basis upon which

 defendant moves for a new trial was known to defendant on March

 2, 2009, before his conviction.        Under the circumstances, there

 is no basis to conclude that defendant’s delay in seeking a new

 trial was due to excusable neglect.         Thus, defendant’s motion

 for a new trial must be denied as time barred.

    B. New Trial Standard

             Even assuming, arguendo, that defendant’s instant Rule

 33 motion were timely, it is nevertheless without merit.

 Subject to the limitation period set forth above, Rule 33

 provides that “[u]pon the defendant’s motion, the court may

 vacate any judgment and grant a new trial if the interest of



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 justice so requires.”      Fed. R. Crim. P. 33(a).         A Rule 33 motion

 is to be granted “sparingly.”          United States v. Bell, 584 F.3d

 478, 484-85 (2d Cir. 2009) (citation omitted); see also United

 States v. Dipietro, No. 04-CR-1110, 2009 WL 3711661, at *3

 (S.D.N.Y. Nov. 6, 2009) (“A Rule 33 motion is to be granted

 ‘sparingly’ and only in ‘exceptional circumstances.’”) (quoting

 Bell, 584 F.3d at 484-85).       “The test is whether it would be a

 manifest injustice to let the guilty verdict stand.”               Id., at *3

 (quoting Bell, 584 F.3d at 483).

          1. Defendant’s Presence

             Defendant contends that his right to be present at

 trial was violated on March 2, 2009 when the court addressed in

 defendant’s absence certain “legal issues” concerning discovery

 raised by the government’s letter dated March 1, 2009 (Doc. No.

 297).   (See Def. Rule 33 Letter Motion at 2.)            Defendant

 contends that “even though [his] counsel waived his appearance,

 the Court did not have the power to conduct this important part

 of the trial without him.”       (Id.)

             Rule 43 provides in pertinent part that “the defendant

 must be present at . . . every trial stage, including jury

 impanelment and the return of the verdict . . . .”              Fed. R.

 Crim. P. 43(a)(2)       Rule 43 further provides that “[a] defendant

 need not be present . . . [where] [t]he proceeding involves only

 a conference or hearing on a question of law.”             Fed. R. Civ. P.

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 43(b)(3).    “As the Supreme Court has recognized . . . the right

 to be present is not absolute: it is triggered only when the

 defendant’s ‘presence has a relation, reasonably substantial, to

 the fulness of his opportunity to defend against the charge.’”

 Cohen v. Senkowski, 290 F.3d 485, 489 (2d Cir. 2002) (quoting

 Snyder v. Massachusetts, 291 U.S. 97, 106-07 (1934)).

             As defense counsel acknowledges, the matters discussed

 in defendant’s absence concerned only “legal issues” regarding a

 proposed protective order concerning certain 3500 disclosures

 made by the government.      (See Def. Rule 33 Letter Motion at 2.)

 A review of the transcript for March 2, 2009 reveals that

 defendant was not present in court from 9:20 a.m. to 9:30 a.m.

 and was believed to be in transit to the courthouse.              (Tr. at

 114, 118.)    Outside of the jury’s presence, and before alternate

 jurors had been selected, all counsel and the court addressed

 the wording of the proposed protective order, inter alia,

 limiting the disclosure and dissemination of statements and

 reports related to the impeachment of non-testifying co-

 conspirators produced by the government pursuant to 18 U.S.C. §

 3500.   Although Mr. Midyett’s counsel initially indicated that

 he had no objection to the government’s request and proposed

 protective order, he later joined in the request of co-defendant

 Michael Brown’s counsel that defense counsel be permitted to

 retain any such disclosures for purposes of appellate review.

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 (Id. at 115-117).       The government agreed to defense counsel’s

 revision to the proposed protective order and the issue was

 resolved by counsel.       (Id. at 116-17.)

             The court concludes that defendant’s 10-minute absence

 immediately preceding the selection of alternate jurors did not

 violate his right to be present because the proceeding involved

 solely the wording of a protective order, and accordingly only

 involved questions of law.       See Olajide v. United States, No.

 05-CV-281, 2005 WL 1925640, at *5 (S.D.N.Y. Aug. 11, 2005)

 (Chin, J.) (holding that a habeas petitioner was not denied his

 Sixth Amendment right to a jury trial, inter alia, where the

 court and attorneys addressed “purely legal [evidentiary]

 questions” immediately preceding jury selection, while defendant

 was “delayed by [court] security”).          Moreover, because defendant

 “was represented by competent counsel who could speak to these

 legal issues without the need to consult him on factual matters,

 his absence did not violate his constitutional right to defend

 himself against the charges.”          See id.

          2. Fair Trial

             Defendant further contends that the court’s protective

 order (Doc. No. 301), inter alia, prohibiting the possession of

 certain 3500 disclosure materials in any custodial facility

 outside of the courthouse “violated his right to a fair trial



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 and crippled his ability to prepare an adequate defense.” 2              (Def.

 Rule 33 Letter Motion at 2.)       In particular, defendant contends

 that he “could not properly review” the disclosures “during the

 trial because he was actively engaged in listening to the

 witnesses and observing the proceedings” and that “[w]hen he was

 outside of the Courthouse he could not review” the discovery

 “because he did not have them.”        (Id.)    Defendant does not claim

 that he requested further opportunities to review the

 disclosures while in the courthouse or that he was otherwise

 prevented from adequately reviewing the disclosures during

 recesses in the trial.      Nor does defendant contend that his

 attorney was prevented from reviewing the disclosures.              In sum,

 defendant has failed to demonstrate that the interests of

 justice require a new trial.       Accordingly, defendant’s motion is

 denied.




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   Although the parties fail to specify the date or document
 number of the order referenced in their submissions on this
 issue, the court presumes that the parties intended to reference
 the protective order, discussed above, dated March 2, 2009, as
 this document memorialized the parties’ agreement regarding the
 limitations on the dissemination of witness statements.
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                                 CONCLUSION

             For the foregoing reasons, defendant’s motion for a

 new trial is denied.      Defendant shall appear for sentencing on

 June 17, 2010 at 10:00 a.m.

 SO ORDERED.

 Dated: Brooklyn, New York
        May 14, 2010

                                               /s/
                                    KIYO A. MATSUMOTO
                                    United States District Judge
                                    Eastern District of New York




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